                           Case MDL No.THE
                            BEFORE      3100 UNITED
                                              DocumentSTATES
                                                      386 Filed JUDICIAL
                                                                02/14/24 Page 1 of 1
                                                                            PANEL
                                               ON MULTIDISTRICT LITIGATION
        3100
MDL No. ______                  Real Estate Commission Antitrust Litigation
               & Title - IN RE: ____________________________________________________


                                                           NOTICE OF APPEARANCE
                                      (Appearances should only be entered in compliance with Rule 4.1(c).


PARTIES REPRESENTED (indicate plaintiff or defendant (i.e. Plaintiff Bob Jones)–If representation
includes more than one party, attach a separate list.)
ntiff Mya Batton, et al
Plai

SHORT CASE CAPTION(s) (Include District and Civil Action No. (i.e. Jones v. Smith Corp., et al., D.
Delaware, 1:14-586)–If party representation includes more than one case, attach a schedule of actions)
NOTE: Include only actions in which you are entering an Appearance.
Batton v. Natl'n of Realtors, 21-cv-430 (N.D. Ill.)
Batton v Compass, Inc., 23-cv-15618 (N.D. Ill.)


        In compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D. 425, 431 (2001), the following designated
attorney is authorized to receive service of all pleadings, notices, orders, and other papers relating to practice before
the United States Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
aware that only one attorney can be designated for each party.


            2/14/24                           /s/ Randall P. Ewing, Jr.
            _____________________________________________________________________________
                                       Date                                           Signature of Attorney or Designee


                                             Randall P. Ewing, Jr.
Name and Address of Designated Attorney:@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                             Korein Tillery LLC
                                     @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
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                                     @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@

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Telephone No.: ________________________                                                    314-241-3525
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Instructions:


1. From the JPML home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Notices. Select the appropriate Notice of Appearance. Select Next.
4. Enter the three or four digit MDL number (ex. 875). Select Next.
5. Verify MDL number, if correct Select Next.
6. Choose the case(s) for which the Appearance is being filed. Select Next.
7. Select Party. Select next twice.
8. Upload the Appearance Form as the Main document and all other documents as attachments. Be sure to choose a category and description. Select the document to which
the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial Motion for Transfer and Appearances filed in transferred litigations should be
linked to the Conditional Transfer Order (CTO).
9. Select the next button and verify docket text. If correct continue to select next to complete the transaction.
                                                                                                                                                               JPML Form 18
